              Case 1:20-cv-00954-JD Document 1 Filed 09/14/20 Page 1 of 12




                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW HAMPSHIRE


*******************************
Khia Hollyer,                 *
              Plaintiff       *
                              *                               Docket No: New Complaint
      v.                      *
                              *                               Jury Trial Requested
Dartmouth College,            *
              Defendant       *
                              *
*******************************


                                           COMPLAINT
   I.         PARTIES

         1.      The plaintiff, Khia Hollyer, is a citizen of Canada, and resides at 2116 Parkside

Lane, North Vancouver, B.C. V7G 1X5.

         2.      The defendant, Dartmouth College, is an institution of higher learning

incorporated in New Hampshire, with a principal place of business at 6111 McKenzie Hall, 6

Vox Lane, Hanover, NH 03755.

   II.        JURISDICTION & VENUE

         3.      The plaintiff is a resident of Canada, and the defendant is a New Hampshire

corporation. The amount in controversy exceeds $75,000. This Court therefore has jurisdiction

over this action pursuant to 28 U.S.C. § 1332 (diversity of citizenship).

         4.      Venue is proper in the District of New Hampshire because it is the judicial district

where the defendant has its principal place of business, and the judicial district where the injuries

complained of herein occurred.




                                                  1
                 Case 1:20-cv-00954-JD Document 1 Filed 09/14/20 Page 2 of 12




    III.         FACTUAL BACKGROUND

           5.       On June 13 and 16 of 2017, plaintiff, Khia Hollyer, was cleared both physically

and medically to participate in Dartmouth College’s Field Hockey Program after she had been

involved in a car accident in December of 2016 which resulted in shoulder, neck and back

injuries.

           6.       The plaintiff arrived on Dartmouth College’s Campus on August 16, 2017 for the

Field Hockey program.

           7.       On August 19, 2017, the plaintiff’s trainer, Meredith Cockerelle, was given a

letter written on her behalf by her local physiotherapist, Nico Berg, stating Ms. Hollyer had been

attending physiotherapy for rehabilitation following the car-related injury described above.

           8.       The letter stated that the plaintiff would be able to complete field hockey training

without difficulty, with the caveat that “however any cross training that involves overhead

movements or heavy upper body loading has created flare ups and issues …. As a result, I

suggest limiting any heavy or overhead strength and conditioning for the next 4 months”.

           9.       On the same day of August 19, 2017, the plaintiff’s mother had also met with the

Field Hockey and Football Strength and conditioning coach, Mark Kulbis, to inform him of Ms.

Hollyer’s whiplash and the letter from Nico Berg.

           10.      Prior to the plaintiff’s arrival at Dartmouth, Ms. Hollyer had no weight training

experience. After arriving at Dartmouth, Ms. Hollyer’s only weight-lifting experience was a

goblet squat with 35 pounds a week prior to the date of injury.

           11.      On September 19, 2017, there was a Team Lift Session in the Floren Varsity Gym

at Dartmouth.




                                                      2
              Case 1:20-cv-00954-JD Document 1 Filed 09/14/20 Page 3 of 12




        12.      During the lift session, Ms. Hollyer was pulled aside separately and instructed by

Mark Kulbis, who was acting as an agent of the defendant, to participate in a trap bar deadlift

exercise.

        13.      Mark Kulbis showed the plaintiff the use of a trap bar (also referred to as a hex

bar). However, he provided minimal verbal instruction and only a quick physical demonstration

of a trap bar deadlift exercise.

        14.      A trap bar, named after the upper fibers of the trapezius muscles, is used in

weight training. It is comprised of a group of bars which are bent and welded into a hexagonal or

diamond shape sized so a person may stand in the middle.

        15.      A trap bar deadlift exercise is completed by an individual first standing in the

center of the trap bar with an individual’s feet hip-width apart. Bending the knees, one would

then reach down and grab the handles on either side of the trap bar. From this position, one

would typically sit their hips back, so the tension is in the hamstrings. One is then to stick their

chest up, flatten their back, tuck in their chin, and look up/forward. While breathing in and

tightening one’s core, they would then stand up by straightening the hips and then the knees.

While keeping the core tight and back flat, one would then tighten their glutes at the top of the

rep. Lastly, the trap bar is to be controllably lowered back down to the ground.

        16.      It is often noted that individuals learning any new exercise should start with a

lower weight and gradually increase that weight as they progress. This is commonly done to be

sure the person has mastered the correct form for the exercise (which is essential to prevent

injury), and are comfortable and capable of lifting the weight using the correct form at each new

weight increment.




                                                   3
               Case 1:20-cv-00954-JD Document 1 Filed 09/14/20 Page 4 of 12




         17.      The correct form for a trap bar dead lift should help prevent one from rounding

their back which could create stress and risk of injury to an individual’s spine.

         18.      The trap bar is a specialized piece of equipment that does not provide perfect form

or protection if the individual does not correctly learn the appropriate methodology from an

experienced and competent trainer. This is another reason that starting with lower weight is

vital.

         19.      Floren Varsity Gym, and all the equipment used in that facility, including the

trap/hex bar, were owned and maintained by the defendant.

         20.      Mark Kulbis joined the Dartmouth College Strength and Conditioning Staff in

January 2016. Kulbis assumed the position of Associate Director of Strength and Conditioning

in March 2018. Beforehand Kulbis served as an Assistant Strength and Conditioning Coach and

a paid intern at Dartmouth College.

         21.      At the beginning of the directed exercise, Mr. Kulbis did not start with any

graduated weight progression. Rather, Mr. Kulbis started the plaintiff with 105 pounds on the

hex bar. Ms. Hollyer weighed only 125 pounds, meaning Mr. Kulbis had started her lifting

program with 84% of her body weight – an amount that was clearly excessive for a first-time

lifter who had not demonstrated knowledge and mastery of the correct lifting form.

         22.      Ms. Hollyer, who did not have experience with weight-lifting, was unaware of the

amount of weight that was on the bar prior to lifting.

         23.      The plaintiff was also not aware of the risk of further injury to which she was

subject. Mr. Kulbis casual approach and failure to warn her of potential risks, or give her the

opportunity to learn the correct form at a lower weight, created a false sense of security.




                                                   4
                Case 1:20-cv-00954-JD Document 1 Filed 09/14/20 Page 5 of 12




          24.      During the first attempted repetition with the heavily-weighted hex bar, Ms.

Hollyer successfully lifted the weight to full height. However, upon lowering the weight, Mr.

Kulbis told her to squat lower while still holding the weight. As a result of this instruction, the

plaintiff experienced an incredibly painful wrenching feeling in her back causing her to drop the

weight.

          25.      Mr. Kulbis did not render medical aid or encourage Ms. Hollyer to seek medical

attention. He acted as if nothing was wrong. Mr. Kulbis then instructed Ms. Hollyer to stop

lifting the hex bar and told her to do another exercise in a V-sit position passing a medicine ball

back and forth as hard as she could.

          26.      This exercise required Ms. Hollyer to sit on her tailbone which may have

exacerbated her back injury. It was certainly not an appropriate exercise for someone who had

just reported low back pain while lifting 84% of her body weight.

          27.      The letter received on the August 19, 2017 had also stated that no heavy upper

body loading, heavy or overhead lifting and conditioning should happen for 4 months.

          28.      September 20, 2017, plaintiff informed her Athletic trainer, Meredith Cockerelle,

of her back injuries and was then told by Ms. Cockerelle to go to practice to test out how she was

feeling.

          29.      As the plaintiff was following instruction, she went to practice which resulted

further pain during the first drill.

          30.      Ms. Cockerelle came to assist plaintiff on the field, after which she made Ms.

Hollyer go on the exercise bike as she thought it would be fine and it was just a tight piriformis.




                                                    5
             Case 1:20-cv-00954-JD Document 1 Filed 09/14/20 Page 6 of 12




       31.      The following day, plaintiff had gone back to practice along with seeing Ms.

Cockerelle. Ms. Cockerelle continued to have plaintiff take part in exercises and practices even

though plaintiff complained of ongoing pain.

       32.      There was no mention of seeing doctors despite there being doctors on staff with

the athletic department.

       33.      The plaintiff had taken her own initiative to be seen by doctors since she was not

being guided to do so by the training/medical staff of the defendant.

       34.      The plaintiff was diagnosed with a ruptured disc at L5/S1 of her spine. In

addition to pain and weakness, the plaintiff has experienced fecal and urinary incontinence as

symptoms of the serious damage done to her spine by the negligently-guided weight exercise she

was instructed to perform with excessive weight.

       35.      The Plaintiff has been instructed by her medical professionals that she is not

permitted to perform any weight room exercises and must avoid aggravating activities that

include lumbar spine flexion, rotation and compression (lifting and sitting).

       36.      The plaintiff currently suffers from continued pain and other symptoms resulting

from the defendant’s negligence. With the risk of further injury, it is unlikely she will be able to

play field hockey or other sports of a contact nature in the future.

       37.      Under New Hampshire law a defendant may be held liable when a reasonable

person in the defendant’s position would customarily instruct a plaintiff as to the dangers

inherent in an activity. Dartmouth College’s coaches should have warned and instructed the

plaintiff as to the dangers presented when lifting heavy weights, the proper method for using the

hex-bar, the need to start with low weight until mastery of lifting form was achieved, and the




                                                  6
             Case 1:20-cv-00954-JD Document 1 Filed 09/14/20 Page 7 of 12




need to gradually increase weight before attempting to lift a significant portion of the plaintiff’s

own body weight without prior experience.

       38.      Enhancing the risks of a sports activity in ways that are unusual, unexpected, and

outside the ordinary range of risk to be expected in such a sport may subject a defendant to

liability. Creating an enhanced and unreasonable risk by starting the plaintiff with a clearly

excessive amount of weight, before allowing her to master form and technique at a lower weight,

while using an unfamiliar piece of equipment, constituted a breach of the applicable standard of

care, particularly in the absence of offsetting safeguards to protect against the enhanced risk.

       39.      To the extent that the coaching staff of Dartmouth College did not recognize the

dangers of allowing a new athlete, who was unfamiliar with weight-lifting in general, and with

the hex-bar specifically, to attempt to lift 84% of her body weight on her first attempt, before

demonstrating mastery of form and technique at a lower weight, those coaches were clearly

negligently selected and lacked adequate supervision.

       40.      The plaintiff’s grievous injuries would likely not have occurred had she been

properly instructed in the technique for using a hex-bar, had been required to demonstrate

mastery of form and technique at a lower weight, and had been required to demonstrate

continued mastery of form and technique at gradually increased weight, prior to requiring her to

attempt to control 84% of her body weight on her first-ever attempt at lifting with a hex-bar.

       41.      Dartmouth College had a duty to select coaches that were aware of these dangers,

and the coaches had a duty to properly warn, instruct, and monitor Hollyer in the appropriate

weight-lifting techniques. Dartmouth College’s breaches of these duties greatly enhanced the

inherent dangers of lifting weights and were the direct and proximate cause of Hollyer’s injuries.




                                                  7
                 Case 1:20-cv-00954-JD Document 1 Filed 09/14/20 Page 8 of 12




           42.      The defendant’s agents further breached their duty of care to the plaintiff by

failing to recognize the possibility that she had suffered a serious back injury and have her

medically-cleared before further exerting herself. The defendant failed to select and train its

coaches to be aware of the warning signs of a serious back injury, and the appropriate step to

take when an athlete reported sudden serious back pain from weight-lifting. The coaching staff’s

failure to have the plaintiff immediately examined by a physician, despite prior written

communication that the plaintiff had a previous back injury and weight-lifting restrictions,

constitutes gross negligence.

                        COUNT I- NEGLIGENCE-IMPROPER USE AND
                       MAINTENANCE OF EQUIPMENT AND FACILITIES

           43.      The allegations of paragraphs 1-42 are incorporated herein by reference.

           44.      The defendant, by its agents, servants and employees, owed a duty to the plaintiff

to use reasonable care to become familiar with the proper use and care of the plaintiff’s prior

physical conditions so that she could have effectively performed the intended function of the

strength and conditioning equipment such as the hex bar.

           45.      The defendant also owed a duty to the plaintiff to provide care and instruction that

would adequately adjust the services and exercises to her specific need and level of strength and

ability.

           46.      The defendant breached those duties by dismissing the given doctor’s note which

informed them of the plaintiff’s physical capabilities.

           47.      The defendant also breached those duties by failing to ensure the plaintiff was

comfortable with her form as well as with the weight on the hex bar prior to lifting it and adding

heavier weight as needed.




                                                      8
              Case 1:20-cv-00954-JD Document 1 Filed 09/14/20 Page 9 of 12




        48.      The defendant otherwise failed to use due care with the plaintiff’s past and

present injuries as she was not advised to see doctors.

        49.      The defendant, through its agents, significantly enhanced the inherent risks of

weight-lifting exercises by failing to account for the plaintiff’s lack of experience, her prior

injuries, and by failing to provide appropriate instruction with lighter weights before requiring

the plaintiff to lift 4/5 of her body weight on her first attempt.

              COUNT II- NEGLIGENCE-FAILURE TO WARN AND INSTRUCT

        50.      The allegations of paragraphs 1-49 are incorporated herein by reference.

        51.      The defendant, by its agents, servants, and employees, owed a duty to the plaintiff

to use reasonable care to warn her of the risks of heavy lifting, strength, and conditioning in

reference to her past injuries, including the risk that, due to the weight on the hex bar, there may

be stress put on her back and spine from the heavier lifting.

52.     The defendant also owed a duty to the plaintiff to instruct her in the proper way to

complete a trap bar deadlift exercise, so as to use light weights to maximize the prevention of

further injuries.

                    COUNT III-NEGLIGENCE-FAILURE TO SUPERVISE

        53.      The allegations of paragraphs 1-52 are incorporated herein by reference.

        54.      The defendant, by its agents, servants, and employees, owed a duty to the plaintiff

to use reasonable care to observe, monitor and supervise her while she was lifting and exercising,

to ensure that her form and amount of strength was appropriately utilized for maximum

protection to herself, and that she did not exceed her limitations set by her doctor, and, in the

event that she did, to warn and instruct her on how to properly recover.




                                                   9
          Case 1:20-cv-00954-JD Document 1 Filed 09/14/20 Page 10 of 12




       55.     The defendant breached those duties and, even though the coach and trainer were

aware or should have been aware of her prior injuries, never warned her of that fact or instructed

her how to properly perform in exercises and practices without creating further injuries.

       56.     The defendant also breached those duties by failing to ensure the plaintiff was

receiving care and watch after she informed them of her occurring injuries as she partook in

instructed activities and exercises by the agents of the defendant.

           COUNT IV-NEGLIGENT HIRING, TRAINING AND SUPERVISION

       57.     The allegations of paragraphs 1-56 are incorporated herein by reference.

       58.     The defendant had a duty to select coaches who were knowledgeable about the

risks of the activities they were coaching on the defendant’s behalf, and who were willing and

able to mitigate those risks to the best degree possible, while not allowing their players to be

exposed to unexpected or enhanced risks not ordinarily encountered in those activities.

       59.     In this case, the defendant selected coaches that were clearly unaware of the risks

and/or unwilling to mitigate the risks of training the plaintiff on a new weight-lifting exercise

that she had no prior experience with. Instead, those coaches ignored documentation regarding

prior physical injuries the plaintiff had sustained, and required her to lift a grossly excessive

amount of weight on her first lift, before ensuring that she could show proper understanding and

mastery of the technique with a lower, safer amount of weight. Once the plaintiff informed them

she was injured as a result of their negligent instruction and supervision, the coaches

compounded their injurious errors by having the plaintiff continue to engage in strenuous

activities, rather than having her seen by an on-staff medical professional or independent doctor.

       60.     As a direct and proximate result of the defendant’s failure to properly select

and/or train its coaching staff, the plaintiff was exposed to unexpected, enhanced risks beyond



                                                  10
          Case 1:20-cv-00954-JD Document 1 Filed 09/14/20 Page 11 of 12




those ordinarily encountered in the activity of weight-lifting, and was seriously injured. The

enhanced risk of injury created by requiring an athlete with prior back injuries to start a new,

unfamiliar exercise at a clearly excessive weight (more than 4/5 of her body weight), should have

been foreseeable to an experienced and properly trained coach, as should the risk of exacerbating

her injury after she reported feeling back pain from the first exercise, by requiring her to engage

in other strenuous activities.

       61.     The the plaintiff suffered and continues to suffer from physical pain, weakness,

limited mobility, incontinence, emotional distress, and lack of enjoyment of life as a result of the

defendant’s negligent selection, training, and supervision of its coaching staff. In addition, the

plaintiff has incurred and will continue to incur significant medical bills and may need surgical

intervention in the future to the correct the serious damage to her spine.

                                           DAMAGES

       62.     The allegations of paragraphs 1-61 are incorporated herein by reference.

       63.     As a result of the defendant’s breaches, as alleged herein, the plaintiff has

suffered and will continue to suffer from the physical and emotional injuries alleged, some of

which are permanent in nature, as well as associated financial losses, including medical bills and

future medical care/expenses, travel expenses, educational expenses, loss of income and future

earnings, loss of earning potential, and lifelong regret, disappointment, sadness, and loss of

enjoyment of life because of her inability to pursue a field hockey career, or even to play field

hockey recreationally, or pursue other recreational, social, and professional opportunities.

       64.     The plaintiff seeks damages for those losses, in the full amount allowed by the

laws of the State of New Hampshire, including interest and costs.




                                                 11
         Case 1:20-cv-00954-JD Document 1 Filed 09/14/20 Page 12 of 12




      WHEREFORE, the plaintiff respectfully requests that the Honorable Court:

      A. Schedule this matter for trial by jury;

      B. Enter judgment in the amount awarded by the jury after trial;

      C. Award the plaintiff her reasonable litigation costs; and

      D. Grant such other and further relief as the Court deems just and equitable.

                                                           Respectfully submitted,

                                                           Khia Hollyer,

                                                           By her attorneys,

                                                           WARD LAW GROUP, PLLC


Dated: September 14, 2020                           By:    _/s/ John Ward Esq.___________
                                                           John Ward (19843)
                                                           28 Webster Street
                                                           Manchester, NH 03104
                                                           O: (603) 232-5220
                                                           F: (603) 232-5230
                                                           jward@wardlawnh.com

                                                           &

                                                           BACKUS, MEYER
                                                           & BRANCH, LLP


                                                    By:    __/s/ Jason R.L. Major Esq. ____
                                                           Jason R.L. Major (14782)
                                                           116 Lowell Street
                                                           Manchester, NH 03104
                                                           (603) 668-7272
                                                           JMajor@backusmeyer.com




                                               12
